                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:10cr73

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )                                   ORDER
                                         )
GABRIEL CISNEROS (1)                     )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant pro se to dismiss the

indictment and release him from confinement. (Doc. No. 37).

       A motion alleging defects in a prosecution or indictment, except for a jurisdictional

defect, must be made prior to trial and within the time period prescribed by the Court. Fed. R.

Crim. P. 12(b)(3) (A), (c). Here, pretrial motions were due on or about July 23, 2010. (Doc. No.

18: Scheduling Order at 1). The defendant waived all non-jurisdictional issues not reserved in his

Plea Agreement on July 8, 2010, when he knowingly and voluntarily waived his right to a trial

(Doc. No. 27: Acceptance and Entry of Guilty Plea) and did not file a timely motion.

       His claim that the Court lacks jurisdiction over him is without merit. It is well-settled that

18 U.S.C. § 3231 district courts jurisdiction over all offenses against the laws of the United

States. United States v. Polin, 323 F.2d 549, 556 (3d Cir. 1963). Here, the defendant has not

shown that any of the offenses to which he pled guilty have been found to be invalid.

       IT IS THEREFORE ORDERED that the defendant’s motion is DENIED.


                                                  Signed: February 11, 2011




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